                 Case 8:20-cv-00048-JVS-JDE Document 1083-1 Filed 12/19/22 Page 1 of 32 Page ID
                                                   #:74552

             1      MARK D. SELWYN, SBN 244180
                     mark.selwyn@wilmerhale.com
             2      THOMAS G. SPRANKLING, SBN 294831
                     thomas.sprankling@wilmerhale.com
             3      WILMER CUTLER PICKERING
                     HALE AND DORR LLP
             4      2600 El Camino Real, Suite 400
                    Palo Alto, CA 94306
             5      Tel.: 650.858.6000 / Fax: 650.858.6100
             6      JOSHUA H. LERNER, SBN 220755
                      joshua.lerner@wilmerhale.com
             7      WILMER CUTLER PICKERING
                     HALE AND DORR LLP
             8      One Front Street, Suite 3500
                    San Francisco, CA 94111
             9      Tel.: 628.235.1000 / Fax: 628.235.1001
           10       AMY K. WIGMORE, pro hac vice
                     amy.wigmore@wilmerhale.com
           11       WILMER CUTLER PICKERING
                      HALE AND DORR LLP
           12       1875 Pennsylvania Ave NW
                    Washington, DC 20006
           13       Tel.: 202.663.6000 / Fax: 202.663.6363
           14
                    [Counsel appearance continues on next page]
           15
                    Attorneys for Defendant Apple Inc.
           16
                                    UNITED STATES DISTRICT COURT
           17
                          CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION
           18
           19       MASIMO CORPORATION,                           CASE NO. 8:20-cv-00048-JVS (JDEx)
                    a Delaware corporation; and
           20       CERCACOR LABORATORIES, INC.,                  APPLE’S MEMORANDUM IN
                    a Delaware corporation,                       SUPPORT OF ITS MOTION FOR
           21                                                     PARTIAL SUMMARY JUDGMENT
                                       Plaintiffs,                ON PLAINTIFFS’ TRADE SECRET
           22                                                     CLAIM AND PLAINTIFFS’ LOST
                          v.                                      PROFITS DAMAGES THEORY
           23
                    APPLE INC.,
                    a California corporation,                     Date: February 6, 2023
           24
                                                                  Time: 1:30pm
           25                          Defendant.
                                                                  Pre-Trial Conference: Mar. 13, 2023
           26
                                                                  Trial: Mar. 27, 2023
           27
                       5('$&7('9(56,212)7+('2&80(17352326('72%(),/('81'(56($/
           28
                     APPLE’S MEM. ISO MOT. FOR PARTIAL S.J. ON PLAINTIFFS’ TRADE SECRET CLAIM, LOST PROFITS
Wilmer Cutler
                                                                             CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
                 Case 8:20-cv-00048-JVS-JDE Document 1083-1 Filed 12/19/22 Page 2 of 32 Page ID
                                                   #:74553

             1
             2      SARAH R. FRAZIER, pro hac vice
                     sarah.frazier@wilmerhale.com
             3      WILMER CUTLER PICKERING
                      HALE AND DORR LLP
             4      60 State Street
                    Boston, MA 02109
             5      Tel.: 617.526.6000 / Fax: 617.526.5000

             6      NORA Q.E. PASSAMANECK, pro hac vice
                     nora.passamaneck@wilmerhale.com
             7      WILMER CUTLER PICKERING
                     HALE AND DORR LLP
             8      1225 Seventeenth Street, Suite 2600
                    Denver, CO 80202
             9      Tel.: 720.274.3152 / Fax: 720.273.3133

           10       BRIAN A. ROSENTHAL, pro hac vice
                     brosenthal@gibsondunn.com
           11       GIBSON, DUNN & CRUTCHER LLP
                    200 Park Avenue
           12       New York, NY 10166-0193
                    Tel.: 212.351.2339 / Fax: 212.817.9539
           13       KENNETH G. PARKER, SBN 182911
           14        Ken.parker@haynesboone.com
                    HAYNES AND BOONE, LLP
           15       660 Anton Boulevard, Suite 700
                    Costa Mesa, CA 92626
           16       Tel. 650.949.3014 / Fax: 949.202.3001

           17
           18
           19
           20
           21
           22
           23
           24
           25
           26
           27
           28
                     APPLE’S MEM. ISO MOT. FOR PARTIAL S.J. ON PLAINTIFFS’ TRADE SECRET CLAIM, LOST PROFITS
Wilmer Cutler
                                                                             CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
                 Case 8:20-cv-00048-JVS-JDE Document 1083-1 Filed 12/19/22 Page 3 of 32 Page ID
                                                   #:74554

             1                                                  TABLE OF CONTENTS
             2                                                                                                                                  Page
             3      INTRODUCTION & UNDISPUTED FACTUAL BACKGROUND ........................... 1
             4      ARGUMENT .................................................................................................................. 3
             5      I.       Plaintiffs Have Not Established That They Possessed Or Owned Any Of
                             The Alleged Trade Secrets ................................................................................... 3
             6
                             A.       Plaintiffs Have Not Established That Either Masimo Or Cercacor
             7                        Possessed The Purported Trade Secrets .................................................... 3
             8               B.       Plaintiffs Have Not Established Which Entity Had Possession Of
                                      Each Alleged Trade Secret ....................................................................... 13
             9
                             C.       Plaintiffs Have Not Established Ownership Of The Purported
           10                         Secrets ..................................................................................................... 14
           11       II.      Plaintiffs’ Purported Trade Secrets Claim General Ideas .................................. 16
           12                A.       Plaintiffs’                                   Secrets Nos. 5 and 7-8 ............................. 16
           13                B.       Plaintiffs’ “Value, Importance, And Appropriateness” Trade
                                      Secrets ...................................................................................................... 22
           14
                    III.     Apple Should Be Granted Summary Judgment On Plaintiffs’ Lost Profits
           15                Theory If Mr. Kinrich’s Lost Profits Opinions Are Excluded ........................... 25
           16       CONCLUSION ............................................................................................................. 25
           17
           18
           19
           20
           21
           22
           23
           24
           25
           26
           27
           28
                     APPLE’S MEM. ISO MOT. FOR PARTIAL S.J. ON PLAINTIFFS’ TRADE SECRET CLAIM, LOST PROFITS
Wilmer Cutler
                                                                i            CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
                 Case 8:20-cv-00048-JVS-JDE Document 1083-1 Filed 12/19/22 Page 4 of 32 Page ID
                                                   #:74555

             1                                           TABLE OF AUTHORITIES
             2
                                                                                                                              Page(s)
             3      CASES
             4      Advanced Fluid Sys., Inc. v. Huber,
             5           958 F.3d 168 (3d Cir. 2020) ............................................................................ 4

             6      Agency Solutions.Com, LLC, v. TriZetto Grp., Inc.,
                         819 F. Supp. 2d 1001 (E.D. Cal. 2011) ................................................... 20, 21
             7
             8      AMN Healthcare, Inc. v. Aya Healthcare Servs., Inc.,
                        28 Cal. App. 5th 923 (2018) ...................................................................... 2, 14
             9
                    Bladeroom Grp. Ltd. v. Facebook, Inc.,
           10
                          219 F. Supp. 3d 984 (N.D. Cal. 2017)............................................................. 3
           11
                    BlueEarth Biofuels, LLC v. Hawaiian Elec. Co.,
           12            2011 WL 2116989 (D. Haw. May 25, 2011) .................................................. 4
           13
                    Burchett v. Bromps,
           14            466 Fed. App’x 605 (9th Cir. 2012) .............................................................. 14
           15       Calendar Rsch. LLC v. StubHub, Inc.,
           16            2020 WL 4390391 (C.D. Cal. May 13, 2020)............................................... 16
           17       ChromaDex, Inc. v. Elysium Heath, Inc.,
           18            2020 WL 1379236 (C.D. Cal. Jan. 16, 2020)................................................ 25

           19       DTM Research, L.L.C. v. AT&T Corp.,
                        245 F.3d 327 (4th Cir. 2001) ......................................................................... 14
           20
           21       Freeman Inv. Mgmt. Co. v. Frank Russell Co.,
                         2016 WL 5719819 (S.D. Cal. Sept. 30, 2016) .............................................. 18
           22
                    Goodness Films, LLC v. TV One, LLC,
           23            2014 WL 12594201 (C.D. Cal. Aug. 28, 2014) ............................................ 25
           24
                    Humphreys & Assocs., Inc. v. Cressman,
           25           2015 WL 12698428 (C.D. Cal. Aug. 31, 2015) ............................................ 14
           26       Imax Corp. v. Cinema Techs., Inc.,
           27            152 F.3d 1161 (9th Cir. 1998) ................................................................. 18, 22
           28
                     APPLE’S MEM. ISO MOT. FOR PARTIAL S.J. ON PLAINTIFFS’ TRADE SECRET CLAIM, LOST PROFITS
Wilmer Cutler
                                                                ii           CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
                 Case 8:20-cv-00048-JVS-JDE Document 1083-1 Filed 12/19/22 Page 5 of 32 Page ID
                                                   #:74556

             1      Inteliclear, LLC v. ETC Global Holdings, Inc.,
             2             978 F.3d 653 (9th Cir. 2020) ................................................................... 18, 22

             3      Jasmine Networks, Inc. v. Superior Court,
                         180 Cal. App. 4th 980 (2009) .................................................................. 13, 15
             4
             5      Mattel, Inc. v. MGA Ent., Inc.,
                          782 F. Supp. 2d 911 (C.D. Cal. 2011) ..................................................... 14, 16
             6
                    Nomadix v. Second Rule LLC,
             7
                        2009 WL 10668158 (C.D. Cal. Jan. 16, 2009).............................................. 19
             8
                    nSight, Inc. v. PeopleSoft, Inc.,
             9            296 F. App’x 555 (9th Cir. 2008) .................................................................. 18
           10
                    Olaplex Inc. v. Loreal USA Inc.,
           11             855 F. App’x. 701 (Fed. Cir. 2021) ............................................................... 18
           12       PSM Holding Corp. v. Nat’l Farm Fin. Corp.,
           13            884 F.3d 812 (9th Cir. 2018) ......................................................................... 15
           14       Sargent Fletcher, Inc. v. Able Corp.,
           15            110 Cal. App. 4th 1658 (2003) ...................................................................... 14

           16       Silvaco Data Sys. v. Intel Corp.,
                          184 Cal. App. 4th 210 (2010) ........................................................................ 15
           17
           18       Tang v. E. Virginia Med. Sch.,
                          2022 WL 981942 (E.D. Va. Mar. 30, 2022) ................................................... 4
           19
                    TLS Mgmt. & Mktg. Servs., LLC v. Rodriguez-Toledo,
           20            966 F.3d 46 (1st Cir. 2020) ........................................................................... 17
           21
                    Tracer Research Corp. v. National Environmental Serv. Co.,
           22             843 F. Supp. 568 (D. Ariz. 1993) .................................................................. 20
           23       TrueBeginnings, LLC v. Spark Network Servs., Inc.,
           24            631 F. Supp. 2d 849 (N.D. Tex. 2009) .......................................................... 14
           25       Waymo LLC v. Uber Techs., Inc.,
           26           2017 WL 2123560 (N.D. Cal. May 15, 2017) .............................................. 17

           27
           28
                     APPLE’S MEM. ISO MOT. FOR PARTIAL S.J. ON PLAINTIFFS’ TRADE SECRET CLAIM, LOST PROFITS
Wilmer Cutler
                                                                iii          CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
                 Case 8:20-cv-00048-JVS-JDE Document 1083-1 Filed 12/19/22 Page 6 of 32 Page ID
                                                   #:74557

             1      Winston Rsch. Corp. v. Minnesota Min. & Mfg. Co.,
             2            350 F.2d 134 (9th Cir. 1965) ......................................................................... 20

             3      X6D Limited v. Li-Tek Corps. Co.,
                         2012 WL 12952726 (C.D. Cal. Aug. 27, 2012) ............................................ 22
             4
             5      XpertUniverse, Inc. v. Cisco Sys., Inc.,
                         2013 WL 867640 (D. Del. Mar. 8, 2013) ................................................ 16, 20
             6
                                                STATUTES, RULES, AND REGULATIONS
             7
             8      Cal. Civ. Code § 3426.1(d)(1) ................................................................................. 16
             9      FRCP 26(a)(2)(C) ...................................................................................................... 2
           10       FRCP 37(c)(1) ............................................................................................................ 2
           11
           12
           13
           14
           15
           16
           17
           18
           19
           20
           21
           22
           23
           24
           25
           26
           27
           28
                     APPLE’S MEM. ISO MOT. FOR PARTIAL S.J. ON PLAINTIFFS’ TRADE SECRET CLAIM, LOST PROFITS
Wilmer Cutler
                                                                iv           CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
                 Case 8:20-cv-00048-JVS-JDE Document 1083-1 Filed 12/19/22 Page 7 of 32 Page ID
                                                   #:74558

             1                 INTRODUCTION & UNDISPUTED FACTUAL BACKGROUND
             2               After three years, more than a hundred hours of depositions, and millions of
             3      pages of discovery, Plaintiffs have failed to put forth meaningful evidence to support
             4      numerous aspects of their affirmative trade secret case.
             5               First, although Plaintiffs have conceded that they must show possession of the
             6      alleged trade secrets to prevail, Plaintiffs have not presented evidence that the alleged
             7      trade secrets were actually in their hands at the time of Apple’s purported
             8      misappropriation. See SUF 1-11 (no evidence of possession
             9                         Trade Secret Nos. 1, 3, 8-16); SUF 12-16 (                Trade Secret
           10       Nos. 4-5, 7-8, 10); SUF 17-21 (                       Trade Secret Nos. 4-6); SUF 22-33
           11       (                          Trade Secret Nos. 1-4, 6-8); SUF 34-38 (
           12       Trade Secret Nos. 5-7).1 For example, Plaintiffs have not identified a single pre-
           13       litigation document that clearly describes any of the purported trade secrets as
           14       Plaintiffs have defined them. SUF 1-38. And Plaintiffs’ own witnesses have been
           15       unable to describe the alleged trade secrets without first reviewing documents prepared
           16       by Plaintiffs’ attorneys. Infra p. 3. If anything, it appears that Plaintiffs copied a
           17       number of the                                         and                    Trade Secrets
           18       from Apple’s patents—rather than the other way around.
           19
           20
           21
           22                Second, beyond an untimely supplemental interrogatory response served months
           23       after the close of fact discovery and after submission of all expert reports, Plaintiffs
           24       have made no attempt to (1) identify which entity possessed which purported trade
           25
           26       1
                     This Court dismissed four alleged secrets and Plaintiffs have abandoned fourteen
           27       more, including two after the parties met and conferred on this motion. SUF 123-128.
                    This list reflects all remaining alleged secrets.
           28
                        APPLE’S MEMO ISO MOT. FOR PARTIAL S.J. ON PLAINTIFFS’ TRADE SECRET CLAIM, LOST PROFITS
Wilmer Cutler
                                                                  1             CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
                 Case 8:20-cv-00048-JVS-JDE Document 1083-1 Filed 12/19/22 Page 8 of 32 Page ID
                                                   #:74559

             1      secret or (2) establish that Plaintiffs owned (as opposed to possessed) the trade secrets
             2      at issue, even though California state law requires Plaintiffs to prove they “owned the
             3      trade secret,” AMN Healthcare, Inc. v. Aya Healthcare Servs., Inc., 28 Cal. App. 5th
             4      923, 942 (2018); see SUF 39-96. Even if the woefully untimely supplemental response
             5      is not struck under FRCP 37(c)(1) (as Apple has requested in a simultaneously filed
             6      motion), it cites nothing more than attorney argument and a trio of broadly worded
             7      licensing agreements that do not apply to this case. Infra pp. 13-16.
             8            Third, at a minimum, Plaintiffs have not met their burden to describe with
             9      reasonable particularity either (1)              Trade Secret Nos. 5 and 7-8 or (2) five
           10       purported trade secrets that claim the “value, importance, and appropriateness” of other
           11       alleged trade secrets. SUF 97-117. As this Court recently instructed in the True
           12       Wearables litigation, “‘[i]deas or concepts are not, in and of themselves, trade
           13       secrets.’” Masimo Corp. v. True Wearables, Inc., 8:18-cv-02001-JVS-JDE (C.D. Cal.
           14       Nov. 7, 2022), Dkt. No. 600, ¶ 99 (“True Wearables Op.”).                    Trade Secret
           15       Nos. 5 and 7-8 all claim general ideas,
           16                                                     SUF 97-102. And the “value, importance,
           17       and appropriateness” trade secrets are nebulous. Plaintiffs’ experts do not discuss
           18       them in detail, and Plaintiffs have presented no evidence shedding light on what kind
           19       of “value,” “importance,” or “appropriateness” is claimed. SUF 103-117.
           20             Finally, Plaintiffs should be barred from pursuing their claim for lost profits
           21       damages. Now that this Court has barred two of Plaintiffs’ purported FRCP
           22       26(a)(2)(C) experts from offering opinions
           23
           24                         , Dkt. 1031, Plaintiffs’ lost profits case turns exclusively on the
           25       testimony of their expert Mr. Kinrich, SUF 122. But as Apple will explain in its
           26       forthcoming Daubert/FRCP 37(c)(1) motion to exclude, the lost profits portions of Mr.
           27
           28
                     APPLE’S MEMO ISO MOT. FOR PARTIAL S.J. ON PLAINTIFFS’ TRADE SECRET CLAIM, LOST PROFITS
Wilmer Cutler
                                                               2             CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
                 Case 8:20-cv-00048-JVS-JDE Document 1083-1 Filed 12/19/22 Page 9 of 32 Page ID
                                                   #:74560

             1      Kinrich’s opinions are based on the same untimely disclosed analyses this Court
             2      already struck. Apple is thus entitled to judgment as a matter of law on that issue.
             3                                             ARGUMENT
             4      I.    PLAINTIFFS HAVE NOT ESTABLISHED THAT THEY POSSESSED OR OWNED ANY
             5            OF THE ALLEGED TRADE SECRETS
             6            A.     Plaintiffs Have Not Established That Either Masimo Or Cercacor
             7                   Possessed The Purported Trade Secrets
             8            Throughout this litigation, Plaintiffs have labored to identify something that
             9      Apple purportedly misappropriated. Even during fact depositions, for example, the
           10       30(b)(6) witnesses whom Plaintiffs designated to speak on the scope of their purported
           11       trade secrets could not
           12
           13
           14
           15
           16
           17             There is a simple reason for Plaintiffs’ evasion: They have no evidence showing
           18       that they actually possessed the purported trade secrets they asserted in this litigation.
           19       This failure of proof dooms their case, as Plaintiffs themselves have conceded that they
           20       must at least demonstrate possession of the purported trade secrets to meet their burden
           21       to establish a trade secret claim. See Ex. 1 at 1 (Plaintiffs arguing to Special Master
           22       that “CUTSA Requires Possession—Not Ownership—of a Trade Secret”); see also Ex.
           23       6 at 6 (Plaintiffs asserting that “‘[P]ossession by the plaintiff of a trade secret’ is the
           24       first element of a CUTSA claim”). As Plaintiffs’ cited case law explains, establishing
           25       possession is a necessary component of a trade secret claim “because the ‘proprietary
           26       aspect’ of a trade secret flows … from its secrecy,” Bladeroom Grp. Ltd. v. Facebook,
           27       Inc., 219 F. Supp. 3d 984, 990 (N.D. Cal. 2017), and a party that does not possess
           28
                     APPLE’S MEMO ISO MOT. FOR PARTIAL S.J. ON PLAINTIFFS’ TRADE SECRET CLAIM, LOST PROFITS
Wilmer Cutler
                                                               3             CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
             Case 8:20-cv-00048-JVS-JDE Document 1083-1 Filed 12/19/22 Page 10 of 32 Page ID
                                               #:74561

             1   information lacks the “right to enjoy the value of the information’s secrecy” giving rise
             2   to a claim, Advanced Fluid Sys., Inc. v. Huber, 958 F.3d 168, 177 (3d Cir. 2020), see
             3   also Ex. 6 at 6 (citing both cases). In short, a plaintiff must have an interest in the
             4   alleged trade secret to be harmed by the misappropriation; without at least possession,
             5   no such interest exists. Advanced Fluid Sys., 958 F.3d at 177.2
             6            Here, the undisputed facts show that Plaintiffs did not possess the trade secrets
             7   they claim Apple misappropriated. Indeed, Plaintiffs have not identified a single
             8   instance where any one of the purported trade secrets was in its entirety identified or
             9   written down prior to this litigation. Rather, Plaintiffs have at best offered evidence
           10    that they at times possessed certain scattered aspects of some of the claimed trade
           11    secrets. And if Plaintiffs cannot establish possession of their alleged trade secrets, they
           12    lack the kind of protectable interest that can give rise to liability. Tang v. E. Virginia
           13    Med. Sch., 2022 WL 981942, at *10 (E.D. Va. Mar. 30, 2022); BlueEarth Biofuels,
           14    LLC v. Hawaiian Elec. Co., 2011 WL 2116989, at *21 (D. Haw. May 25, 2011).
           15
           16             Plaintiffs assert that Apple misappropriated eleven purported trade secrets
           17    connected to the
           18
           19                 ” Dkt. 296-1 ¶¶ 9-10 (Plaintiffs’ Fourth Amended Complaint). As Apple’s
           20    expert explained, however, Plaintiffs have failed to identify any document, testimony,
           21    or other evidence supporting their possession of the trade secrets they group under this
           22    category. See, e.g., Ex. 17 ¶¶ 23-25.
           23             Take        Trade Secret No. 1, which is described as “[
           24
           25
           26    2
                  To be clear, Apple believes that binding California case law requires Plaintiffs to
           27    show ownership. Infra pp. 14-16. However, this Court need not reach that issue if it
                 concludes that Apple is entitled to summary judgment on possession.
           28
                     APPLE’S MEMO ISO MOT. FOR PARTIAL S.J. ON PLAINTIFFS’ TRADE SECRET CLAIM, LOST PROFITS
Wilmer Cutler
                                                               4             CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
             Case 8:20-cv-00048-JVS-JDE Document 1083-1 Filed 12/19/22 Page 11 of 32 Page ID
                                               #:74562

             1
             2                                                                                    Dkt.
             3   296-1 ¶ 40.1. Plaintiffs’ expert opines that they
             4                                                                        Ex. 15 ¶¶ 94, 128,
             5   138. But he
             6
             7
             8                                Ex. 17 ¶¶ 66, 68. For example, although the purported
             9   trade secret speaks to
           10                                                                            the documents
           11    Plaintiffs’ expert relies on never combine those features. Id. ¶ 71 (emphases added).
           12    So too for the source code Plaintiffs cite, which contains “
           13
           14                                 ” Id. ¶ 72 (emphases added).
           15           As another example,         Trade Secret No. 10 (which appears to be copied
           16    from
           17
           18
           19
           20
           21           The same deficiencies infect Plaintiffs remaining        trade secrets. For each,
           22    their expert
           23
           24
           25
           26
           27
           28
                  APPLE’S MEMO ISO MOT. FOR PARTIAL S.J. ON PLAINTIFFS’ TRADE SECRET CLAIM, LOST PROFITS
Wilmer Cutler
                                                            5             CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
             Case 8:20-cv-00048-JVS-JDE Document 1083-1 Filed 12/19/22 Page 12 of 32 Page ID
                                               #:74563

             1
             2
             3        Nor could Plaintiffs’ witnesses identify or describe the supposed          trade
             4   secrets (or any others), instead stating they first saw the alleged secrets in documents
             5   prepared by Plaintiffs’ lawyers for this litigation. See Ex. 10 at 33:25-34:22 (Kiani);
             6   Ex. 14 at 17:17-18:5, 18:11-19:7, 23:13-24:15, 24:23-25:12, 25:21-26:18, 27:16-28:20,
             7   96:6-24, 97:6-99:8 (Diab); Ex. 12 at 41:9-19, 47:4-51:22 (Muhsin); Ex. 13 at 42:20-25
             8   (W. Weber); Ex. 11 at 35:17-36:2, 38:2-41:18 (Smith); Ex. 28 at 81:18-87:4
             9   (Madisetti); see also Ex17 ¶ 68. Such a bare record does not create the dispute of
           10    material fact necessary for these claims to proceed to trial.
           11
           12          Plaintiffs allege that they possessed five purported trade secrets related
           13                                     —i.e., the long-known phenomenon of
           14                                                                                            Ex. 4
           15    at 49; see also Dkt. 296-1 ¶ 41. Plaintiffs primarily rely on internal documents
           16    showing that they
           17
           18
           19             Ex. 4 at 49-55; see also, e.g., Ex. 15 ¶ 443 (as to     Trade Secret No. 4).
           20          Plaintiffs have failed to identify any pre-litigation materials that describe the
           21    claimed secrets in their entirety. For example,                 Trade Secret No. 4 claims
           22
           23
           24
           25          Dkt. 296-1 ¶ 41.4. But again, Plaintiffs’ employees were unable “
           26
           27
           28
                  APPLE’S MEMO ISO MOT. FOR PARTIAL S.J. ON PLAINTIFFS’ TRADE SECRET CLAIM, LOST PROFITS
Wilmer Cutler
                                                            6             CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
             Case 8:20-cv-00048-JVS-JDE Document 1083-1 Filed 12/19/22 Page 13 of 32 Page ID
                                               #:74564

             1              Ex. 19 ¶ 56. For example,
             2
             3
             4
             5
             6                                                           Ex. 14 at 28:13-20, 96:6-15; see
             7   also id. at 17:17-18:5, 18:11-19:7, 23:13-24:15, 24:23-25:12, 26:3-18, 27:16-28:12,
             8   96:16-24, 97:6-99:8. Similarly, Mr. Muhsin conceded that
             9
           10
           11                 See Ex. 12 at 48:1-6; see also id. at 41:9-19, 47:4-25, 48:7-51:22.
           12          Similarly, Plaintiffs’ expert—who presumably has access to Plaintiffs’ strongest
           13    documents supporting their position—has not “
           14
           15            Ex. 19 ¶ 56. As Apple’s expert Dr. Steve Warren summarized, the documents
           16    Plaintiffs were able to identify
           17
           18                                                                               Id. In
           19    particular, Plaintiffs have pointed to no evidence that they possessed or developed
           20    information relating to
           21
           22          Plaintiffs’ showing on the remaining               trade secrets is similarly
           23    deficient. They have not identified pre-litigation documents reciting those secrets,
           24    their witnesses could not identify or describe the secrets, and employees had not seen
           25    them in writing until materials were prepared by counsel for this litigation. See, e.g.,
           26    Ex. 19 ¶¶ 138, 141-149 (No. 5); id. ¶¶ 233-243 (No. 7); id. ¶¶ 272-283 (No. 8); id.
           27    ¶¶ 320-325 (No. 10). Their attempts at identifying contemporaneous evidence of these
           28
                  APPLE’S MEMO ISO MOT. FOR PARTIAL S.J. ON PLAINTIFFS’ TRADE SECRET CLAIM, LOST PROFITS
Wilmer Cutler
                                                            7             CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
             Case 8:20-cv-00048-JVS-JDE Document 1083-1 Filed 12/19/22 Page 14 of 32 Page ID
                                               #:74565

             1   secrets instead turn on sleight of hand. For example,                Trade Secret No. 5
             2   involves “
             3   Ex. 19 at 70. Plaintiffs, however,
             4
             5
             6
             7
             8                 ; see also infra pp. 16-22 (arguing that most of the purported
             9                       claim only general ideas). That Plaintiffs
           10                                                   hardly shows that Plaintiffs possessed
           11    any trade secret, to say nothing of the specific secrets they say were misappropriated.
           12
           13          Plaintiffs assert they possessed three                           trade secrets,
           14    which they allege contain
           15
           16
           17                                                                      Ex. 3 at 26. Plaintiffs
           18    have at best shown they possessed parts of the purported trade secrets prior to trial.
           19          For example, Plaintiffs have defined                       Trade Secret No. 4
           20                                                                             Dkt. 296-1
           21    ¶ 42.4. As Apple’s expert Dr. Warren explained, however, Plaintiffs fail to identify
           22    evidence even arguably showing possession of the full trade secret
           23
           24                                                                                 Ex. 19
           25    ¶¶ 360-362. Nor have Plaintiffs demonstrated the subparts of this trade secret
           26
           27                                                                       were ever combined
           28
                 APPLE’S MEMO ISO MOT. FOR PARTIAL S.J. ON PLAINTIFFS’ TRADE SECRET CLAIM, LOST PROFITS
Wilmer Cutler
                                                           8             CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
             Case 8:20-cv-00048-JVS-JDE Document 1083-1 Filed 12/19/22 Page 15 of 32 Page ID
                                               #:74566

             1   by Plaintiffs in the form now claimed to be a protectable secret. See Ex. 19 ¶¶ 343-
             2   346. The documents they rely on instead omit either (1)
             3
             4
             5         Plaintiffs also fail to create a triable issue on their possession of the other alleged
             6                     trade secrets.                     Trade Secret No. 5 incorporates
             7                      Trade Secret No. 4 and the same documents are used to show
             8   Plaintiffs possessed it, meaning the same deficiencies preclude a claim premised on
             9   that information. Ex. 19 ¶¶ 405, 408. And                        Trade Secret No. 6 is the
           10
           11
           12
           13          Plaintiffs also allege that Apple misappropriated seven
           14    trade secrets, which Plaintiffs define
           15
           16                           Ex. 4 at 11. Again, Plaintiffs have failed to provide sufficient
           17    evidence to raise a genuine question of material fact regarding whether they actually
           18    possessed the complete alleged trade secrets prior to this litigation.
           19          For example, according to Plaintiffs’ interrogatory responses,
           20               Trade Secret No. 1 describes
           21
           22
           23
           24
           25
           26                                                                                       Ex. 4 at
           27    56-57. To support possession of this trade secret, Plaintiffs primarily rely on a
           28
                  APPLE’S MEMO ISO MOT. FOR PARTIAL S.J. ON PLAINTIFFS’ TRADE SECRET CLAIM, LOST PROFITS
Wilmer Cutler
                                                            9             CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
             Case 8:20-cv-00048-JVS-JDE Document 1083-1 Filed 12/19/22 Page 16 of 32 Page ID
                                               #:74567

             1
             2                                                             Ex. 20 ¶ 65. But as Apple’s
             3   expert has explained, the plan
             4
             5
             6
             7
             8
             9
           10
           11
           12
           13
           14
           15
           16          Plaintiffs’ expert also relies on general statements made during Mr. Kiani’s
           17    deposition—e.g., that Plaintiffs sought to create a
           18
           19                                                                                       but
           20    this hardly provides evidence that Plaintiffs were practicing the full      Trade Secret
           21    No. 1. See Ex. 21 ¶¶ 34-35. Among other things, both statements
           22
           23                                                                  The remaining materials
           24    cited by Plaintiffs
           25
           26
           27
           28
                  APPLE’S MEMO ISO MOT. FOR PARTIAL S.J. ON PLAINTIFFS’ TRADE SECRET CLAIM, LOST PROFITS
Wilmer Cutler
                                                            10            CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
             Case 8:20-cv-00048-JVS-JDE Document 1083-1 Filed 12/19/22 Page 17 of 32 Page ID
                                               #:74568

             1
             2                            See id. ¶¶ 36-38; Ex. 20 ¶¶ 73-79.
             3                Trade Secret No. 6 fares no better. It concerns a plan for
             4
             5
             6
             7                          Ex. 4 at 57. Again, Plaintiffs have not presented any documents
             8   claiming the trade secret in full, despite Apple’s expert stating that contemporaneous
             9   documentation would typically accompany the
           10    described in the secret. Ex. 21 ¶ 235. Possession of           Trade Secret No. 6 is
           11    instead primarily premised on conversations and deposition testimony. Id. And even
           12    the testimony that Plaintiffs rely upon to show possession does not reference the
           13    specific
           14
           15                                                                   Id. ¶¶ 236-238. The
           16    remaining purported trade secrets either incorporate          Trade Secret No. 1 (i.e.,
           17          Trade Secret Nos. 2-4) or incorporate both Trade Secret Nos. 1 and 6 (i.e.,
           18    Trade Secret Nos. 6-7). Dkt. 296-1 ¶ 43. Because Plaintiffs have not raised a genuine
           19    question of material fact regarding their possession of         Trade Secret Nos. 1 and
           20    6, summary judgment should also be granted on the five remaining trade secrets.
           21
           22          Plaintiffs have three purported trade secrets regarding their
           23                                                         that have survived dismissal in this
           24    case. See Dkt. 350 at 4-6. Plaintiffs have not created a triable issue as to their
           25    possession of these alleged secrets. Plaintiffs’    Trade Secret No. 5, for example,
           26    claims a purportedly secret strategy for “
           27
           28
                  APPLE’S MEMO ISO MOT. FOR PARTIAL S.J. ON PLAINTIFFS’ TRADE SECRET CLAIM, LOST PROFITS
Wilmer Cutler
                                                            11            CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
             Case 8:20-cv-00048-JVS-JDE Document 1083-1 Filed 12/19/22 Page 18 of 32 Page ID
                                               #:74569

             1                                             Ex. 4 at 63-64. Conducting such research
             2
             3
             4                                                                      Ex. 21 ¶ 265.
             5   Plaintiffs have identified nothing of the sort, id.—and certainly nothing that shows
             6   possession at the time of the purported misappropriation in 2013 and 2014. Plaintiffs
             7   instead rely on their employees’ post-litigation statements about concepts that have
             8
             9
           10
           11                                               Moreover, Plaintiffs have not shown
           12
           13    Id. ¶ 266. And the documents Plaintiffs do assert support possession concern
           14
           15
           16
           17          The two remaining trade secrets are not independently addressed by Plaintiffs’
           18    expert, and in any event incorporate     Trade Secret No. 5. Ex. 21 ¶ 296. Because
           19    Plaintiffs did not possess    Trade Secret No. 5, they could not have possessed trade
           20    secrets that build upon it. Id. ¶ 297.
           21                                               ***
           22          While Apple believes that summary judgment is warranted on each of the
           23    purported trade secrets for the reasons explained above, it anticipates that Plaintiffs
           24    will follow their experts’ lead in trying to establish possession of individual alleged
           25    trade secrets by cobbling together a number of different sources. If Plaintiffs take this
           26    approach—and to the extent this Court credits their arguments—Apple respectfully
           27    suggests that Apple should be permitted to take the same tack at trial in rebutting
           28
                  APPLE’S MEMO ISO MOT. FOR PARTIAL S.J. ON PLAINTIFFS’ TRADE SECRET CLAIM, LOST PROFITS
Wilmer Cutler
                                                            12            CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
             Case 8:20-cv-00048-JVS-JDE Document 1083-1 Filed 12/19/22 Page 19 of 32 Page ID
                                               #:74570

             1   Plaintiffs’ arguments that their alleged trade secrets were not “generally known.” As
             2   Apple will explain at trial, each of Plaintiffs’ claimed trade secrets (or at minimum, all
             3   its component parts) was generally known in the relevant industry.
             4            B.     Plaintiffs Have Not Established Which Entity Had Possession Of
             5                   Each Alleged Trade Secret
             6            At a minimum, Plaintiffs’ CUTSA claim should be rejected because they have
             7   not shown which entity possessed which alleged trade secret. As discussed in Apple’s
             8   simultaneously filed motion to strike, prior to November 23, 2022, Plaintiffs refused to
             9   provide this key piece of information. Accordingly, if Apple’s motion is granted,
           10    Apple is entitled to summary judgment on possession (and thus on liability).3
           11             To be sure, Plaintiffs timely asserted that both Masimo and Cercacor
           12
           13
           14
           15                             . Ex. 1 at 1, 3. But that agreement does not reference any
           16    specific trade secret. To the contrary, it deals only with                 and thus on its
           17    face does not sweep in the alleged
           18
           19                                              Moreover, to the extent Plaintiffs claim this
           20    agreement shows Masimo or Cercacor could have accessed any alleged technical trade
           21    secret, Plaintiffs have presented no evidence that Masimo or Cercacor actually did so
           22    and thus possessed that alleged secret at the time of the alleged misappropriation. See
           23    Jasmine Networks, Inc. v. Superior Court, 180 Cal. App. 4th 980, 993, 997 (2009).
           24
           25    3
                   At the motion to dismiss stage, this Court stated that “Apple has cited to no law
           26    requiring that plaintiffs suing together specify which of them owns a particular trade
                 secret.” Dkt. 264 at 9-10. This requirement necessarily springs from CUTSA’s
           27    undisputed requirement to show possession. If Plaintiffs fail to establish which entity
                 has possession, they have not met their burden to establish that either did.
           28
                     APPLE’S MEMO ISO MOT. FOR PARTIAL S.J. ON PLAINTIFFS’ TRADE SECRET CLAIM, LOST PROFITS
Wilmer Cutler
                                                               13            CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
             Case 8:20-cv-00048-JVS-JDE Document 1083-1 Filed 12/19/22 Page 20 of 32 Page ID
                                               #:74571

             1         Even if the November 23 supplemental response stands, it cites no factual
             2   support other than                         agreement and two other wholly irrelevant
             3   agreements. See generally Ex. 6. One was
             4                             see Ex. 9, Ex. 2 § 18.9. It therefore cannot show possession
             5   at the time of the purported misappropriation, which occurred years after 2007. Dkt.
             6   296-1 at 80. The other is a                                                that does not
             7   mention trade secrets at all. Ex. 8. While Plaintiffs also cross-reference their
             8   responses to Interrogatories Nos. 6 and 7, nothing in those responses identifies which
             9   Plaintiff possessed which alleged trade secret. See generally Ex. 4; Ex. 5.
           10          Without factual support, Plaintiffs’ November 23 response boils down to
           11    attorney argument. Such “conclusory allegations unsupported by factual data will not
           12    create a triable issue of fact” on any issue, Burchett v. Bromps, 466 Fed. App’x 605,
           13    606-607 (9th Cir. 2012); see also TrueBeginnings, LLC v. Spark Network Servs., Inc.,
           14    631 F. Supp. 2d 849, 858 & n.5 (N.D. Tex. 2009), and they certainly do not meet
           15    Plaintiffs’ burden of showing which entity has possession of which trade secret.
           16          C.     Plaintiffs Have Not Established Ownership Of The Purported Secrets
           17          Even if Plaintiffs could show possession, the law requires more. California
           18    appellate courts and courts in this District have held that CUTSA plaintiffs must “show
           19    [they] owned the trade secret.” See, e.g., AMN Healthcare 28 Cal. App. 5th at 942;
           20    Sargent Fletcher, Inc. v. Able Corp., 110 Cal. App. 4th 1658, 1665 (2003) (same);
           21    Humphreys & Assocs., Inc. v. Cressman, 2015 WL 12698428, at *3 (C.D. Cal. Aug.
           22    31, 2015) (same); Mattel, Inc. v. MGA Ent., Inc., 782 F. Supp. 2d 911, 960 (C.D. Cal.
           23    2011) (same). This Court has stated in this very litigation that a trade secret plaintiff
           24    must “demonstrate: (1) the plaintiff owned a trade secret.” E.g., Dkt. 264 at 4.
           25    Plaintiffs have made no such showing.
           26          Plaintiffs have chiefly relied on out-of-circuit cases following the Fourth
           27    Circuit’s interpretation of Maryland trade secret law in DTM Research, L.L.C. v. AT&T
           28
                  APPLE’S MEMO ISO MOT. FOR PARTIAL S.J. ON PLAINTIFFS’ TRADE SECRET CLAIM, LOST PROFITS
Wilmer Cutler
                                                            14            CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
             Case 8:20-cv-00048-JVS-JDE Document 1083-1 Filed 12/19/22 Page 21 of 32 Page ID
                                               #:74572

             1   Corp., 245 F.3d 327, 332 (4th Cir. 2001). Ex. 6 at 6. But because Plaintiffs chose to
             2   bring their suit under the CUTSA and in federal court, the Erie doctrine binds them to
             3   the California state courts’ interpretation of that statue. See PSM Holding Corp. v.
             4   Nat’l Farm Fin. Corp., 884 F.3d 812, 828 (9th Cir. 2018). Here, Plaintiffs identify no
             5   California case that adopts the DTM standard. The case they have cited that uses the
             6   term “possession” rather than “ownership” is a classic outlier—it does not cite DTM or
             7   provide reasoning for choosing one word over the other. See Silvaco Data Sys. v. Intel
             8   Corp., 184 Cal. App. 4th 210, 220 (2010). The law applies the “ownership”
             9   framework for a good reason—“[i]t is the owner at the time of the injury who will
           10    ordinarily suffer the loss of value or cost of replacement or repair, and who will thus
           11    need the compensatory remedy that the law offers.” Jasmine Networks, 180 Cal. App.
           12    4th at 993. Adopting the “possession” framework, on the other hand, could result in a
           13    windfall for someone who did not actually suffer any loss—e.g., an employee who
           14    developed a trade secret for the employer under an assignment agreement.
           15          Under the proper legal standard, Plaintiffs have failed to present any evidence—
           16    much less raise a genuine question of material fact—regarding which entity owned
           17    which trade secret. If the November 23 supplemental response is excluded (as it
           18    should be), Plaintiffs have argued only that the trade secrets are owned by
           19                               Ex. 6 at 5. That is plainly insufficient to show even joint
           20    ownership; if the purported trade secrets were jointly owned, presumably Plaintiffs
           21    could have stated                                     Moreover, the only evidence
           22    Plaintiffs have cited for this proposition is the                              , which at
           23    most speaks to possession (and even then, does not speak clearly, see supra pp. 13-14).
           24    With regard to ownership, the agreement
           25
           26                                                        Ex. 2 §§ 11.1, 11.2 (emphasis added).
           27
           28
                  APPLE’S MEMO ISO MOT. FOR PARTIAL S.J. ON PLAINTIFFS’ TRADE SECRET CLAIM, LOST PROFITS
Wilmer Cutler
                                                            15            CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
             Case 8:20-cv-00048-JVS-JDE Document 1083-1 Filed 12/19/22 Page 22 of 32 Page ID
                                               #:74573

             1         Finally, even if the belated supplemental response is permitted to stand,
             2   Plaintiffs still have not raised a triable issue of fact with respect to ownership. Just as
             3   with the possession issue, the two additional               cited in that response are not
             4   even remotely relevant to ownership at the time of the purported misappropriation.
             5   II.   PLAINTIFFS’ PURPORTED TRADE SECRETS CLAIM GENERAL IDEAS
             6         As this Court recently observed, “‘[i]deas or concepts are not, in and of
             7   themselves, trade secrets.’” True Wearables Op. ¶ 99. Rather, the CUTSA protects
             8   information that “[d]erives independent economic value, actual or potential, from not
             9   being generally known to the public or to other persons who can obtain economic
           10    value from its disclosure.” Cal. Civ. Code § 3426.1(d)(1). In light of these underlying
           11    requirements, the CUTSA requires a trade secret to be “actual, not theoretical” and
           12    “specific, not general.” XpertUniverse, Inc. v. Cisco Sys., Inc., 2013 WL 867640, at *3
           13    (D. Del. Mar. 8, 2013) (applying California law).
           14          This delineation—between “ideas and broad conceptualizations” on the one
           15    hand and valuable information about how those ideas and conceptualizations can be
           16    used on the other—serves the functions of “prevent[ing] employers from using trade
           17    secret law as a weapon against employee mobility [and] … permit[ing] defendant to
           18    ascertain at least the boundaries within which the secret lies.’” Mattel, 782 F. Supp. 2d
           19    at 967. The “no ideas” principle has particular force “in trade secrets cases involving
           20    technical or scientific information” where Plaintiffs are trying to “distinguish the
           21    alleged trade secrets from information already known in the field.” Calendar Rsch.
           22    LLC v. StubHub, Inc., 2020 WL 4390391, at *5 (C.D. Cal. May 13, 2020). In that
           23    circumstance, “a more exacting level of particularity may be required to distinguish the
           24    alleged trade secrets from matters already known to persons skilled in that field.” Id.
           25          A.     Plaintiffs’                Trade Secrets Nos. 5 and 7-8
           26                 1.                   Trade Secret No. 5
           27          This purported trade secret recites
           28
                  APPLE’S MEMO ISO MOT. FOR PARTIAL S.J. ON PLAINTIFFS’ TRADE SECRET CLAIM, LOST PROFITS
Wilmer Cutler
                                                            16            CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
             Case 8:20-cv-00048-JVS-JDE Document 1083-1 Filed 12/19/22 Page 23 of 32 Page ID
                                               #:74574

             1
             2
             3
             4
             5
             6
             7
             8
             9
           10          In other words, the alleged trade secret boils down to identifying a general
           11    problem (X can cause errors) and coupling it with a general solution (avoid X).
           12    Providing such a “general description” is “insufficient to establish a trade secret.” TLS
           13    Mgmt. & Mktg. Servs., LLC v. Rodriguez-Toledo, 966 F.3d 46, 53 (1st Cir. 2020)
           14    (finding no trade secret where company claimed it “would conduct a ‘salary analysis,’
           15    consider fringe benefits,’ look at the client’s ‘retirement plan,’ and use ‘captive
           16    insurance company’ techniques … and that its recommendations would result in tax
           17    savings”). Among other things, permitting a trade secret claim to proceed at a high
           18    level of generality would grant companies an impermissible and unearned “monopoly
           19    over broad swaths of other solutions … merely because they all fall on the side of
           20    generally favoring a particular consideration over others.” Waymo LLC v. Uber
           21    Techs., Inc., 2017 WL 2123560, at *7 (N.D. Cal. May 15, 2017); see True Wearables
           22    Op. ¶ 143 (no liability where claimed trade secret “is so broad that it would cover
           23    standard mathematical tools … that are used extensively in every scientific sub-field”).
           24          Plaintiffs apparently made no effort to articulate               Trade Secret No. 5
           25    with particularity (or Nos. 7-8, for that matter) because they believed that once their
           26    allegations had survived a motion to dismiss, they did not need to present actual
           27    evidence delineating the secrets’ metes and bounds. Dr. Madisetti, for example,
           28
                  APPLE’S MEMO ISO MOT. FOR PARTIAL S.J. ON PLAINTIFFS’ TRADE SECRET CLAIM, LOST PROFITS
Wilmer Cutler
                                                            17            CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
             Case 8:20-cv-00048-JVS-JDE Document 1083-1 Filed 12/19/22 Page 24 of 32 Page ID
                                               #:74575

             1   asserts “that reasonable particularity is evaluated by the trial court ‘before commencing
             2   discovery’ in the case.” Ex. 16 ¶¶ 642, 794, 809. While this Court has explained that
             3   “trade secrets do not have to be described in minute detail to survive a motion to
             4   dismiss” because “[t]rade secret identification is naturally refined during discovery,”
             5   Dkt. 264 at 8 (emphasis added), discovery is now complete and Plaintiffs’ alleged
             6   trade secrets still lack particularity. Courts in the Ninth Circuit have granted summary
             7   judgment under comparable circumstances. See Imax Corp. v. Cinema Techs., Inc.,
             8   152 F.3d 1161, 1167 (9th Cir. 1998) (affirming summary judgment order where
             9   alleged trade secrets were not stated with reasonable particularity); nSight, Inc. v.
           10    PeopleSoft, Inc., 296 F. App’x 555, 560-561 (9th Cir. 2008) (same); see also Freeman
           11    Inv. Mgmt. Co. v. Frank Russell Co., 2016 WL 5719819, at *12 (S.D. Cal. Sept. 30,
           12    2016) (collecting cases granting summary judgment on reasonable particularity).
           13    Indeed, a trade secret plaintiffs’ failure to adequately describe its trade secrets with
           14    reasonable particularity can be a basis for finding insufficient evidence to support a
           15    jury’s verdict. See Olaplex Inc. v. Loreal USA Inc., 855 F. App’x. 701, 712 (Fed. Cir.
           16    2021). This is because “[c]ourts and juries … require precision … especially where a
           17    trade secrets claim involves a sophisticated and highly complex system,” since “the
           18    district court or trier of fact will not have the requisite expertise to define what the
           19    plaintiff leaves abstract.” Inteliclear, LLC v. ETC Global Holdings, Inc., 978 F.3d
           20    653, 658 (9th Cir. 2020).4
           21             More broadly, Plaintiffs’ failure to articulate their asserted trade secrets with
           22    sufficient particularity is an error of their own making.
           23
           24
           25    4
                  Inteliclear ultimately reversed a grant of summary judgment, but it emphasized that it
           26    was reaching its decision when “no discovery whatsoever had occurred” and the
                 plaintiff would have “the possibility of expanding its identifications later.” 978 F.3d at
           27    659. Here, the discovery deadlines have long since passed, and this Court has held that
                 no further changes to Plaintiffs’ trade secrets are permitted. See, e.g., Dkt. 899 at 4-5.
           28
                     APPLE’S MEMO ISO MOT. FOR PARTIAL S.J. ON PLAINTIFFS’ TRADE SECRET CLAIM, LOST PROFITS
Wilmer Cutler
                                                               18            CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
             Case 8:20-cv-00048-JVS-JDE Document 1083-1 Filed 12/19/22 Page 25 of 32 Page ID
                                               #:74576

             1
             2
             3
             4
             5
             6                                                Yet Plaintiffs failed to recite any of these
             7   specific methods as their particular trade secret, instead choosing to articulate the trade
             8   secret as finding an undefined solution for a general problem. Plaintiffs cannot rewrite
             9   it now, see True Wearables Op. ¶ 98 (rejecting attempt to narrow definition of alleged
           10    trade secret to avoid finding that it was generally known), nor should Plaintiffs be
           11    permitted to claim a trade secret broader than what they claim to have possessed.5
           12                    2.                     Trade Secret No. 7
           13             Plaintiffs’ seventh alleged              secret recites
           14
           15                                                                                    Ex. 19 at 156.
           16    There is no dispute that
           17                  are broad mathematical concepts well-documented in the literature. See
           18    Ex. 18 ¶¶ 242-246 (
           19                                                   ). Even Dr. Madisetti has not argued that
           20    there is anything secret regarding these concepts. To the contrary, he expressly
           21    acknowledges
           22
           23
           24
           25    5
                  Plaintiffs cannot avoid summary judgment by citing Dr. Madisetti’s conclusory
           26    assertions that, for example,
                                                              Ex. 16 ¶ 644; Nomadix v. Second Rule
           27                                               Jan. 16, 2009) (“Conclusory expert
                 opinions, of course, … [do not] create a genuine issue of material fact[.]”).
           28
                     APPLE’S MEMO ISO MOT. FOR PARTIAL S.J. ON PLAINTIFFS’ TRADE SECRET CLAIM, LOST PROFITS
Wilmer Cutler
                                                               19            CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
             Case 8:20-cv-00048-JVS-JDE Document 1083-1 Filed 12/19/22 Page 26 of 32 Page ID
                                               #:74577

             1
             2
             3         Instead, Plaintiffs assert that
             4
             5
             6
             7                                                    But simply applying known concepts
             8   and/or knowing their utility in                            monitoring amounts to
             9   “[g]eneral knowledge in the trade or ... special knowledge of those persons who are
           10    skilled in the trade,” which still are insufficient to qualify as trade secrets. See Agency
           11    Solutions.Com, LLC, v. TriZetto Grp., Inc., 819 F. Supp. 2d 1001, 1019 (E.D. Cal.
           12    2011). Missing is any “specific implementation involving a particular combination of
           13    general concepts” that may constitute a trade secret. See Tracer Research Corp. v.
           14    National Environmental Serv. Co., 843 F. Supp. 568, 582 (D. Ariz. 1993) (citing case
           15    interpreting California law); see also Winston Rsch. Corp. v. Minnesota Min. & Mfg.
           16    Co., 350 F.2d 134, 144 (9th Cir. 1965) (rejecting asserted trade secrets directed to the
           17    “general approach and basic mechanical elements of the Mincom machine” because if
           18    enforced they would “prohibit former Mincom employees from engaging in any
           19    development work in this area at all”). These alleged secrets appear similar to one
           20    recently rejected by this Court as describing “tool[s] in biological sensing at large,”
           21    which is insufficient to receive trade secret protection. True Wearables Op. ¶ 148.
           22          In sum, with no recited advantages of using
           23
           24    Trade Secrets No. 7 is theoretical, general, and does not qualify as a trade secret. See
           25    XpertUniverse, Inc., 2013 WL 867640, at *3.
           26
           27
           28
                  APPLE’S MEMO ISO MOT. FOR PARTIAL S.J. ON PLAINTIFFS’ TRADE SECRET CLAIM, LOST PROFITS
Wilmer Cutler
                                                            20            CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
             Case 8:20-cv-00048-JVS-JDE Document 1083-1 Filed 12/19/22 Page 27 of 32 Page ID
                                               #:74578

             1                3.                    Trade Secret No. 8
             2         Plaintiffs’ eighth purported trade secret recites
             3
             4                                                 Ex. 19 at 174. Like the other purported
             5   trade secrets discussed above,               Trade Secret No. 8 is a general,
             6   commonsense concept—
             7           —with no description of any steps explaining how
             8               See Ex. 18 ¶ 249
             9
           10
           11                                                                                        This
           12    secret thus amounts to nothing more than “[g]eneral knowledge in the trade,” and does
           13    not qualify as a trade secret as a matter of law. See Agency, 819 F. Supp. 2d at 1019.
           14          Given the breadth of the purported trade secret, it should come as little surprise
           15    that this basic notion is described throughout the literature and even appears in
           16    physical devices that existed for decades prior to any alleged misappropriation. Cf.
           17    True Wearables Op. ¶¶ 142-148 (finding Plaintiffs had not described a viable trade
           18    secret where it covered “commonplace” and “standard mathematical tools”); see also
           19    Ex. 18 ¶¶ 251-259. For example,
           20                                 The only difference is that, unlike the alleged trade secret
           21    at issue here, it provides details on
           22
           23
           24
           25
           26
           27                                                    See Ex. 7 at 1; see also Ex. 18 ¶¶ 251-
           28
                  APPLE’S MEMO ISO MOT. FOR PARTIAL S.J. ON PLAINTIFFS’ TRADE SECRET CLAIM, LOST PROFITS
Wilmer Cutler
                                                            21            CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
             Case 8:20-cv-00048-JVS-JDE Document 1083-1 Filed 12/19/22 Page 28 of 32 Page ID
                                               #:74579

             1   252. Other articles likewise
             2
             3
             4
             5         Dr. Madisetti’s attempts to distinguish these references reinforces the
             6   impermissible breadth of the purported trade secret. For example, Dr. Madisetti points
             7
             8
             9
           10
           11
           12
           13
           14
           15                                                Plaintiffs cannot reasonably distinguish
           16    references based on concepts absent from the alleged trade secret.
           17          B.     Plaintiffs’ “Value, Importance, And Appropriateness” Trade Secrets
           18          Just as a trade secret must be actual and specific rather than theoretical and
           19    general, a trade secret plaintiff may “not simply rely upon ‘catchall’ phrases” when
           20    describing their trade secrets. See InteliClear, 978 F.3d at 658; accord Dkt. 264 at 4.
           21    Thus, for example, the Ninth Circuit has affirmed the grant of summary judgment
           22    where a purported trade secret claimed the “‘dimensions and tolerances’” of a movie
           23    projector system. See Imax, 152 F.3d at 1167. The Ninth Circuit reasoned that this
           24    language did not “clearly refer to tangible trade secret material” because it “failed to
           25    indicate precisely which dimensions and tolerances were trade secrets”—a particularly
           26    problematic omission because the purported secrets involved a “sophisticated and
           27    highly complex projector system.” Id.; see X6D Limited v. Li-Tek Corps. Co., 2012
           28
                  APPLE’S MEMO ISO MOT. FOR PARTIAL S.J. ON PLAINTIFFS’ TRADE SECRET CLAIM, LOST PROFITS
Wilmer Cutler
                                                            22            CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
             Case 8:20-cv-00048-JVS-JDE Document 1083-1 Filed 12/19/22 Page 29 of 32 Page ID
                                               #:74580

             1   WL 12952726, at *8 (C.D. Cal. Aug. 27, 2012) (granting summary judgment on trade
             2   secret claiming the “Ornamental Appearance, Color and Material” for pair of glasses).
             3          Here, Plaintiffs originally asserted five purported trade secrets—one for each
             4   remaining category—that claim the “value, importance, and appropriateness” of the
             5   remainder of the trade secrets were originally in that category (some of which have
             6   since been dismissed or otherwise dropped but are still incorporated within the secret).
             7   See Dkt. 296-1 ¶ 40.16 (         No. 16); id. ¶ 42.6 (     No. 6); id. ¶ 43.8 (    No. 8);
             8   id. ¶ 44.7 (    No. 7); see also Ex. 15 at 167-168 n.2 (      No. 10). Despite years of
             9   discovery, however, Plaintiffs have failed to provide any additional details clarifying
           10    what those general terms mean. Even their experts—who spend dozens of pages
           11    defending the other purported trade secrets—provide no guidance for how to
           12    understand these words. E.g., Ex. 15 ¶ 168
           13
           14
           15                   For example, does “value” refer to the purported trade secrets’ economic
           16    value or their usefulness? If the former, this is clear double-counting, as it overlaps
           17    with the requirement for establishing that information is a trade secret in the first place
           18    (a tactic akin to claiming the “secrecy” of a particular trade secret). And if the latter,
           19    what kind of usefulness (e.g., usefulness that comes from using the purported trade
           20    secrets all together, individually, or in some specific combination)? The purported
           21    trade secrets provide no answer. The same types of questions arise when considering
           22    the meaning of “importance” (important in what sense?) and “appropriateness” (when
           23    compared to what?).
           24           This Court’s prior motion to dismiss ruling regarding the “value, importance,
           25    and appropriateness” trade secrets does not answer whether Plaintiffs have met their
           26    burden to define their purported secrets with sufficient particularity at the summary
           27    judgment stage. See Dkt. 264 at 5. There, the question was whether Plaintiffs were
           28
                  APPLE’S MEMO ISO MOT. FOR PARTIAL S.J. ON PLAINTIFFS’ TRADE SECRET CLAIM, LOST PROFITS
Wilmer Cutler
                                                            23            CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
             Case 8:20-cv-00048-JVS-JDE Document 1083-1 Filed 12/19/22 Page 30 of 32 Page ID
                                               #:74581

             1   using the phrase to smuggle in new trade secrets “about which Apple does not have
             2   notice” at a later date. Id. Here, the issue is whether Plaintiffs have provided enough
             3   evidence to allow a trier-of-fact to understand the scope of those five specific alleged
             4   trade secrets.
             5         Since this Court’s prior ruling, moreover, the scope of those five trade secrets
             6   has only grown murkier. This is because each incorporates purported trade secrets that
             7   are no longer in this litigation—e.g., because Plaintiffs have abandoned them. For
             8   example,                Trade Secret No. 10 recites the
             9
           10                                                        See Ex. 19 at 198. While the fact
           11    that the “value, importance, and appropriateness” trade secrets were “circumscribed by
           12    the preceding list of trade secrets” may have provided some clarity at the motion to
           13    dismiss stage, (Dkt. 264 at 5), today the references to secrets that are no longer at issue
           14    will only make it exceedingly difficult for the jury to understand the precise scope of
           15    the catch-all secrets. Adding to the confusion, Plaintiffs’ experts have read the five
           16    catch-all secrets to claim the “value, importance, and appropriateness” of each of the
           17    live secrets—essentially doubling the number of purported trade secrets in this
           18    litigation without leave of this Court. For example, Dr. Madisetti describes
           19           Trade Secret No. 10 as “[t]he value, importance and appropriateness of
           20
           21                                ” (Ex. 15 at 167-168), “the value, importance, and
           22    appropriateness of
           23                                                        ,” (id. at 219); see id. at 283 (same
           24    for No. 7); id. at 297 (same for No. 8). This type of slicing and dicing means that
           25    Plaintiffs are receiving an unjustified second bite at the apple for each purported trade
           26    secret—both for the trade secret as alleged and for the nebulous concept of its value,
           27    importance, and appropriateness.
           28
                  APPLE’S MEMO ISO MOT. FOR PARTIAL S.J. ON PLAINTIFFS’ TRADE SECRET CLAIM, LOST PROFITS
Wilmer Cutler
                                                            24            CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
             Case 8:20-cv-00048-JVS-JDE Document 1083-1 Filed 12/19/22 Page 31 of 32 Page ID
                                               #:74582

             1   III.   APPLE SHOULD BE GRANTED SUMMARY JUDGMENT ON PLAINTIFFS’ LOST
             2          PROFITS THEORY IF MR. KINRICH’S LOST PROFITS OPINIONS ARE EXCLUDED
             3          Per this Court’s instructions, Apple intended to file a combined Daubert/Rule
             4   37(c) motion to strike portions of Plaintiffs’ damages expert report simultaneously
             5   with this motion. See Dkt. 1068 at 3; see also Dkt. 898 (parties’ stipulation to file
             6   summary judgment motions on December 19). However, the night before Mr.
             7   Kinrich’s scheduled deposition on Monday, December 12, Plaintiffs informed Apple
             8   that Mr. Kinrich would not be available for the immediate future because
             9                                  . Ex. 26. Because Plaintiffs refused to stipulate to push
           10    back the filing deadline for summary judgment to January 9, 2023—i.e., the general
           11    deadline that this Court set for law and motion matters—Apple has been forced to file
           12    this motion first and will file its combined Daubert/Rule 37 motion on January 9 and
           13    to notice it for the same hearing date as this motion (February 6).
           14           As will be explained fully in Apple’s January 9 motion, both Mr. Kinrich’s
           15    October 2022 report and his November 30, 2022 “Supplemental” Report are deficient
           16    at least because his lost profits analysis relies on factual information and
           17                         that this Court has already held were not timely disclosed. See
           18    generally Dkt. 1031. If Mr. Kinrich is barred from offering his lost profits opinions (as
           19    he should be), Plaintiffs cannot establish a genuine question of material fact remains
           20    regarding their entitlement to that relief. See ChromaDex, Inc. v. Elysium Heath, Inc.,
           21    2020 WL 1379236, at *8 (C.D. Cal. Jan. 16, 2020); Goodness Films, LLC v. TV One,
           22    LLC, 2014 WL 12594201, at *2-4 (C.D. Cal. Aug. 28, 2014) (similar).
           23                                        CONCLUSION
           24           This Court should grant Apple summary judgment of no liability on Plaintiffs’
           25    trade secret claim. At a minimum, this Court should grant summary judgment on
           26    Plaintiffs’              Trade Secret Nos. 5 and 7-8, the “value, importance, and
           27    appropriateness” trade secrets, and/or Plaintiffs’ lost profits damages theory.
           28
                  APPLE’S MEMO ISO MOT. FOR PARTIAL S.J. ON PLAINTIFFS’ TRADE SECRET CLAIM, LOST PROFITS
Wilmer Cutler
                                                            25            CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
             Case 8:20-cv-00048-JVS-JDE Document 1083-1 Filed 12/19/22 Page 32 of 32 Page ID
                                               #:74583

             1
             2   Dated: December 19, 2022              Respectfully submitted,

             3
             4                                         MARK D. SELWYN
                                                       AMY K. WIGMORE
             5                                         JOSHUA H. LERNER
             6                                         SARAH R. FRAZIER
                                                       NORA Q.E. PASSAMANECK
             7                                         THOMAS G. SPRANKLING
             8                                         WILMER CUTLER PICKERING HALE AND
                                                       DORR LLP
             9
           10                                          BRIAN A. ROSENTHAL
                                                       GIBSON, DUNN & CRUTCHER LLP
           11
           12                                          KENNETH G. PARKER
                                                       HAYNES AND BOONE, LLP
           13
           14
           15                                          By: /s/Mark D. Selwyn
                                                           Mark D. Selwyn
           16
           17
                                                       Attorneys for Defendant Apple Inc.
           18
           19
           20
           21
           22
           23
           24
           25
           26
           27
           28
                 APPLE’S MEMO ISO MOT. FOR PARTIAL S.J. ON PLAINTIFFS’ TRADE SECRET CLAIM, LOST PROFITS
Wilmer Cutler
                                                           26            CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
